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 4
     Attorney for: JESUS JAVIER HUILTRON SANCHEZ
 5

 6                      IN THE UNITED STATES DISTRICT COURT

 7                    FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,       )                  No. CR-S-05-0443 W BS
                                     )
10                  Plaintiff,       )                  STIPULATION AND ORDER
                                     )                  CONTINUING STATUS
11                                   )                  CONFERENCE AND FINDING
                                     )                  OF EXCLUDABLE TIME
12        vs.                        )
                                     )
13   JESUS JAVIER HUILTRON SANCHEZ,  )
     ESPIRIDION VALDOVINOS LUCATERO, )
14   FRANCISCO PEREZ LUCATERO, and,  )
     NARCISCO GALLEGOS MORALES,      )
15                                   )
                    Defendants.      )
16                                   )

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           Defendants, JESUS JAVIER HUILTRON SANCHEZ, ESPIRIDION
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     VALDOVINOS LUCATERO, FRANCISCO PEREZ LUCATERO, and, NARCISCO
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     GALLEGOS MORALES, through their attorneys, PETER KMETO, ROBERT
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     FORKNER, PERCY MARTINEZ and, DANIEL BRODERICK, respectively, and the
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     United States of America, through its counsel of record, CHRISTINE S. WATSON,,
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     stipulate and agree to the following:
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           1. The presently scheduled date of April 12 th 2006 for Status Conference
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           Hearing shall be vacated and said Status Conference Hearing be
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           rescheduled for May 3rd 2006 at 9:00 a.m..
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           2. Draft Plea Agreements have recently been distributed to all parties and the
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           defendants and their lawyers require this time in order to discuss the terms of
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        Case 2:05-cr-00443-WBS Document 33 Filed 04/11/06 Page 2 of 3
 1        the agreements with their clients and make whatever amendments to the

 2        those agreements which will be necessary.

 3        3. The Court may exclude Speedy Trial time pursuant to 18 U.S.C. §

 4        3161(h)(8)(A) and (B)(iv), (Local Code T-4), for defense counsel’s review of

 5        recently provided Draft Plea Agreements.

 6   IT IS SO STIPULATED.

 7   Dated:                                      /s/
                                                CHRISTINE S. W ATSON
 8                                              Assistant U.S. Attorney
                                                for the Government
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11   Dated:                                     /s/
                                                PETER KMETO
12                                              Attorney for Defendant
                                                JESUS JAVIER HUILTRON SANCHEZ
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     Dated:                                     /s/
16                                              ROBERT FORKNER
                                                Attorney for Defendant
17                                              ESPIRIDION VALDOVINOS
                                                LUCATERO
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20   Dated:                                     /s/
                                                PERCY MARTINEZ
21                                              Attorney for Defendant
                                                FRANCISCO PEREZ LUCATERO
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     Dated:                                     /s/
25                                              DANIEL BRODERICK
                                                Attorney for Defendant
26                                              NARCISCO GALLEGOS MORALES

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        Case 2:05-cr-00443-WBS Document 33 Filed 04/11/06 Page 3 of 3
 1                                         ORDER

 2               UPON GOOD CAUSE SHOW N and the stipulation of all parties, it is

 3   ordered that the Status Conference be continued as set forth above.

 4               The Court finds excludable time pursuant to 18 U.S.C. § 3161(h)(8)(A)

 5   and (B)(iv), (Local Code T-4) until May 3 rd 2006 to permit defense counsel to review

 6   recently provided Draft Plea Agreements with their clients.

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 8   DATED: April 10, 2006

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